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 Attorneys for Defendant




                                     UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO


 SHOSHONE-BANNOCK TRIBES; and
 FORT HALL BUSINESS COUNCIL,                             Case No. 4:23-cv-00160-REP

                            Plaintiffs,                  NOTICE OF LACK OF COURT
                                                         DOCKET
          v.

 VANIR CONSTRUCTION
 MANAGEMENT, INC.,

                            Defendant.


          PLEASE TAKE NOTICE that Defendant Vanir Construction Management, Inc. (“Vanir”),

by and through undersigned counsel of record Stoel Rives LLP, hereby provides notice to the Court

that it was unable to attach as an exhibit to the Notice of Removal filed on April 7, 2023, a docket

sheet from the Shoshone-Bannock Tribal Court, Fort Hall Reservation, Civil Division for Case

No. 2023-CV-CM-0051 because such document does not exist. Please see Exhibit A attached

hereto.



NOTICE OF LACK OF COURT DOCKET - 1
119173305.1 0076321-00001
         DATED: April 10, 2023.

                                  STOEL RIVES LLP


                                  /s/ Elijah M. Watkins
                                  Elijah M. Watkins

                                  Attorneys for Defendant




NOTICE OF LACK OF COURT DOCKET - 2
119173305.1 0076321-00001
                              CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2023, I served a copy of the foregoing NOTICE OF
LACK OF COURT DOCKET on CM/ECF Registered Participants as reflected on the Notice
of Electronic Filing as follows:

          paul@echohawklaw.com


                                          /s/ Elijah M. Watkins
                                          Elijah M. Watkins




NOTICE OF LACK OF COURT DOCKET - 3
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